           Case 3:08-cr-00121-RCJ-WGC                 Document 66      Filed 09/04/09   Page 1 of 6

AO 2451
      3 (Rev.09/08)Judgmenti
                           naCriminalCase
         Sheet1

                                        U NITED STA TES D ISTRICT COU RT
                                              D ISTRICT O F N EV A DA

UNITED STATES OF AM ERICA                   JUD G M EN T IN A C RIM IN A L C A SE
            V S.
FERN AN DO LIM ON                           CA SE N UM BER:3:08-CR-0121-BES-RA M
                                            USM N UM BER:43152-048

                                            Ram on Acosta.AFPD
TH E D EFENDANT:                            DEFENDANT'SATTORNEY

(X)     pledguiltyto Countts)Oneand Two oftheIndictmentfiled on 12/10/2008
()      plednolocontenderetocountts)                              which wasaccepted bythecourt.
()      wasfound guiltyoncountts)                                 afterapleaofnotguilty.
Thedefendantisadjudicatedguilty oftheseoffensets):
                                                                              Date
Title & Section                  Nature ofOffense                             O ffense Ended          Count
21U.S.C.841(a)(1)                flonspiracy ttpPossesswith Intentto distribute
and (b)(1)(A)(viii)and 846       and to Distribute a Controlled Substance
                                 (M ethamphetamine)                           11/25/2008               1

21U.S.C.841(a)(1)
and (b)(1)(A)(viii)              Possession with IntenttoDistributeand
                                 Distributit)n ofa Controlled Sulutance
                                 (M etham phetamine)                           11/25/2008
        Thedefendantissentencedasprovidedinpages2through 6 ofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform Actof 1984.

()      Thedefendanthasbeen foundnotguiltyoncountts)
()      Cotlntts)                          aredismissed onthemotionoftheUnited States.
       IT IS ORD ERED thatthe defendantm ustnotify theU nited StatesAttorney forthisdistrictwithin 30 daysofany
change ofnam e,residence,orm ailing addressuntilaIIfines,restitution,costs,and specialassessmentsim posed by this
judgmentarefullypaid.Iforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStatesattorneyof
m aterialchangesin econom ic circum stances.

                                                                 Auzust26.2009
                                                                Date ofI   ition o Judgm ent



                                                                Sig/nature ofJudge


                                                                BRIAN E.SAN DOVAL.U .S.DISTRICT JUDGE
                                                                N ame and TitleofJudge
                                                                                               b Js
                                                                Date
            Case 3:08-cr-00121-RCJ-WGC           Document 66        Filed 09/04/09     Page 2 of 6


AO2458 (Rev.09/08)JudgmentinaCriminalCase
         Sheet2-(mprisonment
DEFEN DANT: FERN AN DO LIM ON                                                             Judgment-Page 2 of6
CA SE N UM BER: 3:08-CR-0l21-BES-RAM

                                               IM PR ISO N M ENT

       Thedefendantishereby com m ittedtothecustody oftheUnitedStatesBureau ofPrisonsto be im prisonedforatotal
term of: SIXTY-THR EE (63)M ONTHS AS TO COUNTS 1 AND 2 TO RUN CO NCURRENT TO EACH OTHER




(X )    ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
        -tllatthe defendantbe placed atfacilit'
                                              y asclose to Northern California aspossible.




(X      ThedefendantisremandedtothecustodyoftheUnited StatesM arshal.
        The defendantshallsurrenderto the United States M arshalforthisdistrict:
        ()       before                   am/pm on
        ()       asnotitiedby theUnited StatesMarshal.
        Thedefendantshallsurrenderforservice ofsentence atthe institution designated by the Bureau ofPrisons:
        ()       before l2:00p.m.on
        ()       asnotifiedbytheUnited StatesMarshal.
        ()       asnotifiedbytheProbation ofPretrialServicesOffice.
                                                    R ETU RN

Ihaveexecutedthisjudgmentasfollows:




        Defendantdelivered on                                to
at                                                                        ,withacertitiedcopyofthisjudgment.

                                                              UN ITED STATES M ARSHA L


                                                                      Deputy United StatesM arshal
           Case 3:08-cr-00121-RCJ-WGC                Document 66          Filed 09/04/09       Page 3 of 6

A()2498 (Rev09208)JudgmentinaCriminalCase
         Sheet3-SupervisedRelcase
DEFEN DAN T: FERNANDO LIM ON                                                                     Judgment-Page 3 of6
CASE NUM BER! 3:08-CR-0121-BES-RAM
                                              SU PERV ISED R ELEA SE

       U pon release from im prisonment,the defendantshallbe on supervised release foraterm ofTHREE (3)YEARS
       The defendantm ustreportto theprobation oftice in the districtto which thedefendantisreleased within 72 hours
ofreleasefrom the custody ofthe Bureau ofPrisons.

The defendantshallnotcomm itanotherfederal,state,orlocalcrim e.

-l-he defendantshallnotunlaw fully possessacontrolled substance. The defendantshallrefrain from any unlaw fuluse ofa
controlled substance.Thedefendantshallsubm itto onedrug testwithin 15daysofrelease from imprisonm entand atleast
two periodic drug teststhereafter,notto exceed l04 drug testsannually. Revocation ism andatory forrefusalto com ply.

()      Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesalow risk
        offuturesubstanceabuse.(Check,ifapplicable.)
(X )    Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,
        ifapplicable.)
(X)     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationofticer.(Check,ifapplicable.)
()      ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotiticationAct(42U.S.C.
        j l6901,etseq.4Asdirected bytheprobationofficer,theBureauofPrisons,orany statesex offenderregistration
        agency in which he or she resides.,works,isa student,orwasconvicted ofa qualifying offense. (Check,if
        applicable.)
        Thedefendantshallparticipateinanapproved program fordomesticviolence.(Check,ifapplicable.)
       lfthisjudgmentilnposesa fine orarestitution,itisa condition ofsupervised release thatthedefendantpal'in
accordancewiththeScheduleofPaylnentssheetofthisjudgment.
        The defendantm ustcomply w ith the standard conditionsthathave been adopted by thiscourtaswellasw ith any
additionalconditionson the attached page.

                                    STANDARD CO NDITION S O F SUPERVISIO N
        thedefendantshallnotIeavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
        thedefendantshallrtporttotheprobationofscerandshallsubmitatruthfulandcom pletewrittenreportw ithinthefirst5vedays
        ofeach m onth'
3)      thedefendantshallanswertruthfully allinquiriesby theprobation officerand follow theinstructionsoftheprobation officer;
4)      thedefendantshallsupporthisorherdependantsandmeetotherfamilyresponsibilities'
5)      thedefendantshallworkregularlyatalawfuloccupationunlessexcusedbytheprobationofticerforschooling,training,orother
        acceptablereasons'
        thedefendantshallnotify theprobationofsceratleastten dayspriorto any change in residenceorem ploym ent',
        the defendantshallrefrain from excessive use ofalcoholand shallnotpurchase,possess,use,distribute oradm inisterany
        controlled substanceorany paraphernaliarelatedto anycontrolled substances exceptasprescribedby aphysician'
        thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold used distributed oradm inistered'
        thedefendantshallnotassociatew ithanypersonsengaged incrim inalactivity,andshallnotassociatew ithanypersonconvicted
        ofafelony unlessgranted permissionto do so by theprobationofficer'
10)      thedefendantshallpermitaprobationofticertovisithim orheratanytimeathomeorelsewhereandshallpermitconfiscation
         ofany contraband observed inplain view oftheprobation officer,
                                                                      '
l1)     thedefendantshallnotifytheprobation officerwithinseventy-two hoursofbeingarrested orquestioned byaIaw enforcement
         officer'
         thedefendantshallnotenterintoanyagreementtoactasaninfonneroraspecialagentofalaw enforcem entagencyw ithoutthe
         perm issionofthecourt'and
         asdirectedby theprobation officer,thedcfendantshallnotify thirdpartiesofrisksthatmaybeoccasionedby the defendant's
         crim inalrecord orpersonalhistory orcharacteristics andshallperm ittheprobation ofticerto m akesuchnotificationsandto
         confirm the defendant'scom pliancew ithsuch notitication requirem ent.
           Case 3:08-cr-00121-RCJ-WGC             Document 66       Filed 09/04/09      Page 4 of 6


AO 245B tRev.09/08)Judgmcntln aCrimlnalCase
         Sheet3-SupcrvlscdRelease
DEFEN DANT: FERNANDO LIM ON                                                                Judgm ent-Page 4 of6
CASE NUM BER: 3:08-CR-0l2l-BES-RAM

                                       SPECIAL CONDITIO NS OV SUPERV ISION



        Possession ofW eapon -The defendantshallnotpossess,have underhiscontrol orhave accessto any firearm ,
        explosive device,orotherdangerousweapons,asdetined by federal,state orIocalIaw .

        W arrantlessSearch-Thedefendantshallsubm ithisperson,property,residence,placeofbusinessandvehicle under
        his/hercontrolto a search,conducted by the United States probation ofticeror any authorized person underthe
        im mediateand personalsupervisionofthe probation officer,atareasonabletim eand in areasonablem anner. based
        upon reasonable suspicion ofcontraband orevidenceofa violationofacondition ofsupervision.Failure to subm it
        to asearch m ay begroundsforrevocation.The defendantshallinform any otherresidentsthattheprem isesmay be
        subjed to asearchpursuanttothiscondition.
        GeneralEcluivalencv Diolom a-You shallparticipate in and successfully com plete an educationalprogram to earn
        aGeneralEqtlivalency Diploma(GED).
        Life Skills-Youshallparticipate in and successfullycompleteacognitivebased lifeskillsprogram ,asapproved and
        directed by the probation officer.

        O ffenderEm plovmentDevelopmentTraininq - You shallparticipate in and successfully complete an offender
        em ploym entdevelopmentprogram asapproved and directed by the probation ofticer.

        Reportto Probation OfficerAfterReleasefrom Custodv-Thedefendantshallreportinpersonto theprobationoffice
        in the Districtto which the defendantisreleased w ithin 72 hoursofrelease from custody.
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AO 2458 (Rev09/08)JudgmentinaCrimlnalCase
         Shett5-CriminalMonetary Penalties
DEFEN DANT: FERN AN DO LIM ON                                                                  Judgment-Page 5 of6
CASE N UM BER: 3:08-CR-0121-BES-RAM

                                         C RIM INA L M O N ETA R Y PENA LTIES

        The defendantm ustpay the totalcrim inalmonetary penaltiesunderthe schedule ofpaym entson Sheet6.

                                   Assessm ent                      Fine                        R estitution

        Totals!                     $200.00 ($100.00 percount) $W AIVED                         $N/A
                                    Due and payable imm ediately.

        On m otion by the Governm ent,IT IS ORDERED thatthe specialassessm entim posed by the Courtisrem itted.

        Thedeterm ination ofrestitution isdeferred until                        .An Amended Judgmentin aCrim inalCase
        (AO 245C)willbeenteredaftersuchdetermination.                   -
        Thedefendantshallmakerestitution(includingeommunityrestitution)tothefollowingpayeesintheamountIisted
        below .

        Ifthe defendantm akesa partialpayment,each payeeshallreceivean approxim ately proportioned paym ent,unless
        specified othenvise in the priorit,yorderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.C.j
        3664(1),alInonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
Nam eofPavee                                 TotalLoss              Restitution Ordered         Priorit'v ofPercentace

Clerk,U.S.Distrid Court
Attn:FinancialOfficer
CaseN o.
333 LasVegasBoulevard,South
LasVegas,NV 89101

TOTA LS                                      $                      $


Restitution amountordered pursuantto plea agreem ent: $
The defendantm ustpay intereston restitution and a tine ofm orethan $2,500,unlessthe restitution orfine ispaid in full
beforethefifteenthdayafterthedateofjudgment,pursuantto 18U.S.C.j3612(9.AIlofthepaymentoptionsonSheet6
maybesubjecttopenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
Thecourtdeterm ined thatthe defendantdoesnothavethe ability to pay interestand itisordered that:

        theinterestrequirementiswaived forthe: ( )tine ( )restitution.
        theinterestrequirementforthe: ( )Gne ( )restitution ismodifiedasfollows:




*Findingsforthe totalam ountoflossesare required underChapters l09A,110,110A,and 1l3.
                                                                                    /$.ofTitle 18 foroffenses
com m itted on orafterSeptember l3,1994 butbefore April23,l996.
           Case 3:08-cr-00121-RCJ-WGC               Document 66     Filed 09/04/09     Page 6 of 6

AO 2458 (Rcv09/08)-JudgmcntinaCri
                                minalCase
         Sheet7-DenialoflzederalBenefits
DEFENDANT: FERNAN DO LIM ON                                                               Judgment-Page6 of6
CA SE N O.: 3:08-CR-0121-BES-RAM

                                           D ENIA L O F FED EM L BEN EFITS
                               (ForOffensesCommittedOnorAfterNovember18,1988)
FOR DRUG TM FFICKER PURSUANT TO 21U.S.C.j862
        IT IS ORDERED thatthe defendantshallbe:

(X )    ineligibleforaIlfederalbenefitsforaperiodofFIVE (5)YEARS
()      ineligibleforthefollowingfederalbenefitsforaperiodof                                     (specifybenefittsl)

                                                       OR
        Havingdetenninedthatthisisthedefendant'sthird orsubsequentconviction fordistributionofcontrolled substances,
        IT IS O RDERED thatthedefendantshallbe perm anently ineligible forallfederalbenetits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C.j 862(b)
        IT IS ORDERED thatthe defendantshall:

()      beineligibleforallfederalbenctitsforaperiodof
()      beineligibleforthefollowingfederalbenetitsforaperiodof
        (specifybenefittsl)                                                                                       -
()      successfully completeadrugtestingandtreatmentprogram.
()      perform communityservice,asspecified intheprobationand supervisedreleaseportionofthisjudgment.
        IS FURTHER ORD ERED thatthe defendantshallcomplete any drug treatmentprogram and com m unity service
specifiedinthisjudgmentasarequirementforthereinstatementofeligibilityforfederalbenefits.
        Pursuantto21U.S.C.j862(d),thisdenialoffederalbenefitsdoesnotincludeanyretirement,welfare,Social
Security,health,disabilibr,veteransbenefit,publichousing,orothersimilarbenefit,oranyotherbenefitforwhich
paym entsorservicesare required foreligibility.Theclerk isresponsibleforsending a copy ofthispageand the lirst
pageoftbisjudgmentto:
        U.S.Departm entofJustice,Office ofJustice Program s,W ashington,DC 20531.
